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 1                               UNITED STATES DISTRICT COURT
 2                                     DISTRICT OF NEVADA
 3                                              ***
 4
      UNITED STATES OF AMERICA,
 5                                                    2:06-cr-00210-LDG-LRL
                    Plaintiff,
 6
      vs.                                                              ORDER
 7
      SHERRIE SHUTT,
 8
                    Defendant.
 9
10                 Based on the pending Stipulation of counsel, and good cause appearing,

11                 IT IS THEREFORE ORDERED that the revocation hearing in this matter currently

12   scheduled for April 13, 2011 at 9:00 a.m., be vacated and continued to ____________________.m.
                                                                            :
   Wednesday,
13 Friday,      May
           May 13,   11, at
                   2011
                DATED    2011   at
                            the daythe
                                hour   hour
                                    ofof 9:00
                                       April,of 1:00crtrm
                                               am.
                                              2011.  p.m.6B.
                                                          in Courtroom 6B
   Please note the court will NOT allow any further stipulations in this matter.
14
15   Dated this ____ day of April, 2011.

16                                              _______________________________
                                                UNITED STATES DISTRICT JUDGE
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